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                                        UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF INDIANA
                                              NEW ALBANY DIVISION

IN RE: JAMES ALLEN SANFORD
        KAREN J SANFORD
Debtor(s)                                                                  CASE NO: 16-91280-AKM-13


                                         NOTICE OF FINAL CURE PAYMENT

       According to Bankruptcy Rule 3002.1(f), the Chapter 13 Trustee, Joseph M. Black, Jr., gives notice that the
amount required to cure the prepetition default in the claim below has been paid in full and the Debtor(s) have
completed all payments under the Plan.

Part 1: Mortgage Information

Name of Creditor: US BANK TRUST N.A.
Court Claim#: 004
Last four digits of any number used to identify the Debtor account: 4906
Property Address: 2528 COOPER LN, SELLERSBURG, IN


Part 2: Cure Amount

Total cure disbursements made by the Trustee:
a. Allowed Pre-petition Arrearage:                                             $22,016.48
b. Prepetition arrearage cured via loan modification:                          $22,016.48

c. Amount of Post-petition fees, expenses, and charges recoverable under       $0.00
    Bankruptcy Rule 3002.1(c):
d. Amount of post-petition fees, expenses, and charges recoverable under       $0.00
    Bankruptcy Rule 3002.1(c) and paid by the Trustee

e. Allowed Post-petition arrearage:                                            $0.00
f. Post-petition arrearage paid by the Trustee                                 $0.00

g. Total. Add lines b, d, and f.                                               $22,016.48




Part 3: Post-petition Mortgage Payment

Mortgage is paid through the Trustee.                   X
Current monthly mortgage payment.                                              $781.57

The next post-petition payment is due on:                                      SEPTEMBER 2021

Mortgage is paid directly by the Debtor(s).
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Part 4: A Response Is Required By Bankruptcy rule 3002.1(g)

Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the Trustee
within 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have
paid in full the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding
post-petition fees, costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are
current on all post-petition payments as of the date of the response. Failure to file and serve the statement may
subject the creditor to further action of the court, including possible sanctions.


Dated: October 19, 2021
                                                                  Respectfully Submitted

                                                                  /s/ Joseph M. Black, Jr.
                                                                  Joseph M. Black, Jr., Trustee
                                                                  PO Box 846
                                                                  Seymour, IN 47274
                                                                  Phone: (812)524-7211
                                                                  Fax:     (812)523-8838
                                                                  Email: jblacktrustee@trustee13.com


                                                     CERTIFICATE OF SERVICE

         I hereby certify that on October 19, 2021, a copy of the foregoing pleading was filed electronically. Notice of this filing will
be sent to the following parties through the Court's Electronic Case Filing System. Parties may access this filing through the
Court's system.

KOEHLER LAW OFFICE lloydkoehler@hotmail.com
U.S. Trustee ustpregion10.in.ecf@usdoj.gov

         I further certify that on October 19, 2021, a copy of the foregoing pleading was mailed by first-class, U.S. Mail, postage
prepaid, and properly addressed to the following:

JAMES ALLEN SANFORD
2528 COOPER LANE
SELLERSBURG, IN 47172-

KAREN J SANFORD
2528 COOPER LANE
SELLERSBURG IN 47172-

US BANK TRUST N.A.
BSI FINANCIAL SERVICES
PO BOX 679002
DALLAS TX 75267-9002

US BANK TRUST
BSI FINANCIAL SERVICES
1425 GREENWAY DR, STE 400
IRVINE, TX 75038

FEIWELL & HANNOY
8415 ALLISON POINTE BLVD, STE 400
INDIANAPOLIS, IN 46250

                                                                  /s/ Joseph M. Black, Jr.
                                                                  Joseph M. Black, Jr., Trustee
